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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                                         Case No. 08-20024

v.                                                        Hon. Sean F. Cox

GEORGE FOUSHI,

      Defendant.
___________________________________________/

                         SECOND AMENDED TRAVEL ORDER

       Pursuant to 18 USC 4285, it is hereby ordered that the United States Marshal’s Service

provided non-custodial transportation for George Foushi from Tucson, Arizona to Detroit,

Michigan and then back to Tucson, Arizona. He must appear before this Court on July 7, 2009

at 3:00 p.m.

       So Ordered.

                                                   S/Sean F. Cox
                                                   Sean F. Cox United States District Judge




Dated: June 15, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of
record on June 15, 2009, by electronic and/or ordinary mail.

                                            S/Jennifer Hernandez
                                            Case Manager
